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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
 FINESSE WIRELESS, LLC         §
                               §
                Plaintiff,     §
 v.                            §                            CASE NO. 2:21-CV-00316-JRG
                               §                             (LEAD CASE)
 AT&T MOBILITY, LLC,           §
                               §                            CASE NO. 2:21-CV-00317-JRG
                               §                             (MEMBER CASE)
                Defendant.     §
                               §
                               §
 FINESSE WIRELESS, LLC,        §
                               §
                Plaintiff,     §
 v.                            §
 CELLCO PARTNERSHIP d/b/a      §                             JURY TRIAL DEMANDED
 VERIZON WIRELESS,             §
                               §
                Defendants,    §
                               §
 NOKIA OF AMERICA CORPORATION, §
                               §
 ERICSSON INC.,                §
                               §
                Intervenors.   §


                                 DOCKET CONTROL ORDER

       In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further notice of the Court:

   Deadline            Description


  January 2, 2023      *Jury Selection — 9:00 a.m. in Marshall, Texas
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     Deadline          Description


      December 5,      * If a juror questionnaire is to be used, an editable (in
         2022          Microsoft Word format) questionnaire shall be jointly
                       submitted to the Deputy Clerk in Charge by this date.1

     November 28,      *Pretrial Conference — 9:00 a.m. in Marshall, Texas
        2022           before Judge Rodney Gilstrap

     November 21,      *Notify Court of Agreements Reached During Meet
        2022           and Confer
                       The parties are ordered to meet and confer on any
                       outstanding objections or motions in limine. The
                       parties shall advise the Court of any agreements
                       reached no later than 1:00 p.m. three (3) business days
                       before the pretrial conference.

     November 21,      *File Joint Pretrial Order, Joint Proposed Jury
        2022           Instructions, Joint Proposed Verdict Form, Responses
                       to Motions in Limine, Updated Exhibit Lists, Updated
                       Witness Lists, and Updated Deposition Designations

     November 14,      *File Notice of Request for Daily Transcript or Real
        2022           Time Reporting.
                       If a daily transcript or real time reporting of court
                       proceedings is requested for trial, the party or parties
                       making said request shall file a notice with the Court.

      November 7,      File Motions in Limine
         2022          The parties shall limit their motions in limine to issues
                       that if improperly introduced at trial would be so
                       prejudicial that the Court could not alleviate the
                       prejudice by giving appropriate instructions to the jury.

      November 7,      Serve Objections to Rebuttal Pretrial Disclosures
         2022

    October 31, 2022   Serve Objections to Pretrial Disclosures; and Serve
                       Rebuttal Pretrial Disclosures



1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.



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     Deadline          Description


    October 17, 2022   Serve Pretrial Disclosures (Witness List, Deposition
                       Designations, and Exhibit List) by the Party with the
                       Burden of Proof

    October 11, 2022   *Response to Dispositive Motions (including Daubert
                       Motions). Responses to dispositive motions that were
                       filed prior to the dispositive motion deadline, including
                       Daubert Motions, shall be due in accordance with
                       Local Rule CV-7(e), not to exceed the deadline as set
                       forth in this Docket Control Order.2 Motions for
                       Summary Judgment shall comply with Local Rule CV-
                       56.

     September 26,     *File Motions to Strike Expert Testimony (including
         2022          Daubert Motions)
                       No motion to strike expert testimony (including a
                       Daubert motion) may be filed after this date without
                       leave of the Court.

     September 26,     *File Dispositive Motions
         2022          No dispositive motion may be filed after this date
                       without leave of the Court.
                       Motions shall comply with Local Rule CV-56 and
                       Local Rule CV-7. Motions to extend page limits will
                       only be granted in exceptional circumstances.
                       Exceptional circumstances require more than agreement
                       among the parties.

     September 19,     Deadline to Complete Expert Discovery
         2022

      September 6,     Serve Disclosures for Rebuttal Expert Witnesses
         2022




2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.



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 Deadline         Description


August 15, 2022   Deadline to Complete Fact Discovery and File Motions
                  to Compel Discovery

August 15, 2022   Serve Disclosures for Expert Witnesses by the Party
                  with the Burden of Proof

  July 28, 2022   Comply with P.R. 3-7 (Opinion of Counsel Defenses)

  July 7, 2022    *Claim Construction Hearing — 9:00 a.m. in Marshall,
                  Texas before Judge Rodney Gilstrap

  June 23, 2022   *Comply with P.R. 4-5(d) (Joint Claim Construction
                  Chart)

  June 20, 2022   *Comply with P.R. 4-5(c) (Reply Claim Construction
                  Brief)

  June 9, 2022    Comply with P.R. 4-5(b) (Responsive Claim
                  Construction Brief)

  May 26, 2022    Comply with P.R. 4-5(a) (Opening Claim Construction
                  Brief) and Submit Technical Tutorials (if any)
                  Good cause must be shown to submit technical tutorials
                  after the deadline to comply with P.R. 4-5(a).

  May 26, 2022    Deadline to Substantially Complete Document
                  Production and Exchange Privilege Logs
                  Counsel are expected to make good faith efforts to
                  produce all required documents as soon as they are
                  available and not wait until the substantial completion
                  deadline.

  May 12, 2022    Comply with P.R. 4-4 (Deadline to Complete Claim
                  Construction Discovery)

  May 5, 2022     File Response to Amended Pleadings

 April 21, 2022   *File Amended Pleadings
                  It is not necessary to seek leave of Court to amend
                  pleadings prior to this deadline unless the amendment
                  seeks to assert additional patents.




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     Deadline         Description


     April 14, 2022   Comply with P.R. 4-3 (Joint Claim Construction
                      Statement)

     March 24, 2022   Comply with P.R. 4-2 (Exchange Preliminary Claim
                      Constructions)

     March 3, 2022    Comply with P.R. 4-1 (Exchange Proposed Claim
                      Terms)

       January 4,     Comply with Standing Order Regarding Subject-Matter
         2022         Eligibility Contentions3

       January 4,     Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)
         2022

      December 9,     *File Proposed Protective Order and Comply with
         2021         Paragraphs 1 & 3 of the Discovery Order (Initial and
                      Additional Disclosures)
                      The Proposed Protective Order shall be filed as a
                      separate motion with the caption indicating whether or
                      not the proposed order is opposed in any part.

      December 2,     *File Proposed Docket Control Order and Proposed
         2021         Discovery Order
                      The Proposed Docket Control Order and Proposed
                      Discovery Order shall be filed as separate motions with
                      the caption indicating whether or not the proposed order
                      is opposed in any part.

     November 26,     Join Additional Parties
        2021

      November 4,     Comply with P.R. 3-1 & 3-2 (Infringement
         2021         Contentions)
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.



3
  http://www.txed.uscourts.govisitesklefaultifilesijudgeFiles/EDTX%20Standing%200rder%20
Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf            [https://perma.cc/RQN2-
YU5P]



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                               ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubed
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,


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the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above
 .    under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.

    So ORDERED and SIGNED this 3rd day of December, 2021.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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